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 6                                     UNITED STATES DISTRICT COURT
 7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                         No. 1:06-cr-00247-DAD

10                        Plaintiff,                   ORDER GRANTING EARLY
                                                       TERMINATION OF SUPERVISED
11           v.                                        RELEASE

12   GUADALUPE AGUILAR BARRON,                         (Doc. No. 147)

13                        Defendant.
14

15           Counsel on behalf of defendant has filed a noticed motion seeking an early termination of

16   defendant’s supervised release term. (Doc. No. 147.) A statement of non-opposition has been

17   filed by the government. (Doc. No. 150.) Although not addressed in the motion, the court has

18   confirmed that the U.S. Probation Office has no objection to the motion as well. Accordingly,

19   and good cause appearing, the motion for early termination of defendant Barron’s supervised

20   release term (Doc. No. 147) is granted and the hearing on the motion scheduled for November 20,

21   2017, is vacated.1

22   IT IS SO ORDERED.
23
          Dated:   November 17, 2017
24                                                      UNITED STATES DISTRICT JUDGE

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       Counsel is advised in the future to first consult the U.S. Probation Office so that a request for
27   early termination may be submitted for court approval where there is no opposition. A noticed
     motion should be filed only where there is opposition by the either the U.S. Attorney’s Office or
28   the U.S. Probation Office.
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